           Case 1:21-cv-03278-CM                Document 6            Filed 11/21/24      Page 1 of 1
             Case 1:21-cv-03278-CM              Document 5           Filed 07/12/21     Page 1 of 1




     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
     -----------------------------------------------------------X
     JOHN BEL LOCCHIO,
                                                                             Civil Action No.
                                                Plaintiff,
                                                                             21 CV 3278 (CM) (BCM)
                  - against -
                                                                             NOTICE OF
     MERR1CK GARLAND in his official capacity,                               DISMISSAL

                                                 Defendant.
     ------------------------------------------------------------X

            PLEASE TAKE NOTICE that whereas no party hereto is an infant or incompetent person

   for whom a committee has been appointed, or conservatee, and no person not a party has an interest

   in the subject matter of the action, the above entitled action be, and the same is hereby dismissed

   with prejudice and without costs, as the same matter entitled John Bellocchio v. Merrick Garland,

   in his official capacity is pending before this Honorable Court under Civil Action               "o. -2.l.,,G-V,-
   3280.
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   Dated: New York, New York
                                                                                 T'.    1TTC -LYFTI.ED          I
          July 12, 2021                                                        ..               I    j:-1
                                                                                    , IPI: _Jj}~~
                                                       Yours, etc.,

                                                       HAICKEN LAW PLLC

G(oY-       [4c,
                                                       BY: SANDRA L. BONDER, ESQ. (3492)
                                                       Attorneys for Plaintiff

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